907 F.2d 1141Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Harvey C. WALL, Plaintiff-Appellant,v.NORTH CAROLINA DEPARTMENT OF CORRECTIONS;  Nathan Rice;Warden Dixon;  Medical Staff;  Doctor and PenalOfficers;  Administrative Personnel;H.L. Hamilton, Defendants-Appellees.
    No. 90-6301.
    United States Court of Appeals, Fourth Circuit.
    Submitted June 4, 1990.Decided June 19, 1990.
    
      Appeal from the United States District Court for the Eastern District of North Carolina, at Raleigh.  Terrence W. Boyle, District Judge.  (C/A No. 89-100-CRT)
      Harvey C. Wall, appellant pro se.
      Sylvia Hargett Thibaut, Assistant Attorney General, Raleigh, N.C., for appellees.
      E.D.N.C.
      AFFIRMED.
      Before ERVIN, Chief Judge, and CHAPMAN and WILKINS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Harvey C. Wall appeals from the district court's order denying relief under 42 U.S.C. Sec. 1983.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Wall v. North Carolina Department of Corrections, C/A No. 89-100-CRT (E.D.N.C. Mar. 2, 1990).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    